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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                      )            Case No. 8:03cr185
                                               )
                      Plaintiff,               )
                                               )
       v.                                      )                     ORDER
                                               )
MICHAEL J. SELLNER,                            )
                                               )
                      Defendant.               )


       Defendant Michael J. Sellner appeared before the court on December 21, 2006 on a Petition
for Summons for Offender Under Supervision [154]. The defendant was represented by assistant
Federal Public Defender David O’Neill and the United States was represented by Assistant U.S.
Attorney Susan Lehr. The defendant waives preliminary hearing. The defendant’ oral motion to
continue is granted. The government did not move for detention. The defendant was released on
current conditions of supervision.
       IT IS ORDERED:

       1.   The Federal Public Defender’s office is appointed to represent the defendant.
       2.    A final disposition hearing in this matter is scheduled in Courtroom 3, Third Floor,
Roman L. Hruska U.S. Courthouse, 111 South 18th Plaza, Omaha, Nebraska, at 10:00 a.m., on
March 9, 2007. Defendant must be present in person.
       3. Defendant is released on current conditions of supervision.
       Dated this 22nd day of December, 2006.


                                               BY THE COURT:




                                               s/ Joseph F. Bataillon
                                               JOSEPH F. BATAILLON
                                               United States District Judge
